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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                                        FOURTH DIVISION


 RODERICK ARNOLD, et al.,                         )   CIVIL ACTION NO. 01-CV-2086 (DWF/AJB)
 on behalf of themselves and all others           )
 similarly situated,                              )    CLASS ACTION
                                                  )
                  Plaintiffs,                     )
                                                  )
 v.                                               )
                                                  )
 CARGILL, INCORPORATED,                           )
                                                  )
                  Defendant.                      )


                           NOTIFICATION OF CONVENTIONAL FILING

                                                      OF

                                      EXHIBITS 5, 7 – 10
                                             To
                         DECLARATION OF TERESA K. PATTON IN SUPPORT OF
                        MOTION TO RECONSIDER AND PURSUANT TO RULE 56(f)

                                          FILED UNDER SEAL



        This filing is in conventional or physical form only, and is on file with the Clerk's Office. If you

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 X Item(s) Under Seal.*

        Exhibits 5, 7-10 to Declaration of Teresa K. Patton in Support of Motion to Reconsider and
        Pursuant to Rule 56(f)
 Case 0:01-cv-02086-DWF-AJB             Document 298-3         Filed 08/09/2004    Page 2 of 2



___ Conformance with the Judicial Conference Privacy Policy (General Order 53)

___ Other (description):

Dated: August 9, 2004                 SPRENGER & LANG, PLLC



                                         By: s/Susan M. Coler
                                             Lawrence Schaefer (MN No. 195583)
                                             Susan M. Coler (MN No. 217621)
                                             Teresa K. Patton (MN No. 205679)
                                             David L. Ramp (MN No. 89357)
                                             Mara R. Thompson (MN No. 196125)
                                             Sprenger & Lang, PLLC
                                             325 Ridgewood Avenue
                                             Minneapolis, MN 55403
                                             (612) 871-8910
                                             (612) 871-9270 (facsimile)

                                              Michael D. Lieder (DC Bar No. 444273)
                                              Steven M. Sprenger (DC Bar No. 418736)
                                              1614 20th Street, N.W.
                                              Washington, DC 20009-1001
                                              (202) 265-8010

                                              COUNSEL FOR PLAINTIFFS




                                                 2

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